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A0 245B (Rev 06105) Sheet 1 - Judgment ~n a Crmnal Case


                           UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION
                                                                                                                                    1
UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                             CASE NUMBER: 8:06-cr-39CkT-30TBM
                                                             USM NUMBER: 48972-018
VS.




HECTOR GARCIA-PEREZ
                                                              Defendant's Attorney, Ray Christopher Lopez, cja.

THE DEFENDANT:

X pleaded gu~ltyto count(s) ONE of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                    NATURE OF OFFENSE                           OFFENSE ENDED                      COUNT
46 Appendix U.S.C $5            Conspiracy to Possess with Intent to           September 12, 2006                 One
1903(a). 1903(g), and 1903Q)and Distribute Five Kilograms or more of
21 U.S.C. S960(b)(l)(B)(n)      Cocaine whiie Board a Vessel Subject
                                to the Junsdicrion of the United States


        The defendant 1s sentenced as prnvided in pages 2 through 6 of this judgment       The sentence 1s nnposed pursuant to tl
Sentencing Reform Act of 1984.
                                                                                                                                    I
- The defendant has been found not guilty on count(s)
X Couut(s) TWO of the Ind~ctmentis dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for t h ~ sdlstrict w~thm30 days of any change
of name, residence, or m a h g address until all fines, restituaon, costs, and specla1 assessments imposed by this judgment are iully
paid. If ordered to pay restituuon, the defendant must not~fythe court and Umted States Attorney of any marenal change in economlc
circumstances.

                                                                               Date of In~positionof Sentence: March 28, 2007
                                                                                                                                    I


                                                                               DATE: March     a.       2007
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-40 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Crirni~lalCase)
Defendant:          HECTOR GARCIA-PEREZ                                                             Judgment - Page 2 of 5
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                                                              IMPRISONMENT

         After consideriug the atlvisory sentencing guidelines and all of the factors icleotifietl in Titlc 18 U.S.C. (is 3553(a)(l)-(7).
thc court finds that the sentence imposed is sufficient, but not greater than neccssarjl, to comply with the statutory purposes
of sentencing.


         The clcfcndant is hewby cominittcd t o the custody of the United Stiltcs 13urcau of I'risom to IN inlpl~isoncclfor a
total term of SEVENTY (70) MONTHS as to Count One of the Inclictnlelit.




X The court makes the following reco~lunendationsto the Bureau of Prisons: The defend:tnt sh:ill be placed at n correctional
-
institution located in Texas, if possible.

X 'The defendant is remanded to the custody of the United Srates Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at    a.111.ip.111.011 -.
          - as notified by the United States h,larshal.
- The defendant shall surrender ibr service of sentence at the institution designated by llle Burc:~uof I'risons.
          - before 2 p.m. 011 -.
          - as notitled by the United States h.I;~rshal.
          - as notitled by the I'robntion or Prctrial Services Office.




                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to




                                                                                          United States Marshal

                                                                         By:
                                                                                          Deputy Uniccd States hlarshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)
Defendant:         HECTOR GARCIA-PEREZ                                                                     Judgment - Page 3 of 6
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                                                            SUPERVISED RELEASE
       L:'pon release from in~prisoizment,the defendant shall be on supel-viscd release for a term oi' FIVE (5) I'EAIZS us to
Count One of the Indictment.

        The defendant must report to the probation office in the district to which the defendant is relcased within 72 hours of rclcase
from the custody of the Bureau of Prisons.

The defendant shall not conmit another federal, state, or local crime. The defendant shall not unlawfully possess a conirollcd subsl~nce.
T h e c1cSendanl shall rcSrain from any unlawful use of a controlled substance. The clefendant shall submit lo one drug test within 15
clays of release from iinprisonment and a1 least two periodic drug tests tl~ereaftcr,as deter~ninedb j the courl.

         The mandatory dnig testing provisions pursuant to the Violent Crime Conlrol Act are waived.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           I f this judgment imposes a fine 01-restitution it is a condition of supervised relcase that the defendam p3y in accostiance with
           the Schedule of P;~ymen[ssheet of this judgment.

          The defendant must comply with the standard condirions that have been adopted by this cour~as well as with any addirioml
          conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
          thc dcfcndant shall not leave the judicid district without the permission of the court or probation officer;

          thc dcfcndant shall sepost to the probation officer and shall submit a trutlifi~land co~iiplctcwritten I - C ~ O I - within
                                                                                                                               I      the fisst five days o f each
          ~ n o tli;
                n

          the defendant shall answcr truthfully all inquiries by the probation officcr and follow the instructions of ~ h probatioll
                                                                                                                          c          officcr;

          the defendant shall support his or her dependents and meet other family responsibilities;

           thc defendant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling, training, or o h e r
           acccptablc rcasons;

           thc dciendmt shall notify tlie probation officer at least ten days prior to any change i n residence or einploymcnt;

          the dcfendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distributc, or adn-iinistcr any controlI.=d
          substance or any paraphernalia related to any controlled substances, except as prescsibed by a physician;

           the deiendrint shall not frequent places where controlled substances arc illegally sold, used, distributed. or administcrcd;

           [he dciendant shall not associate with any persons engaged in criminal activit) rind shall not associate ~vithm y p~rsonconv~cteciof a
           felony, unless 91-antcdpcsrnission to do so by the probation officer;

           thc defendant shall permit a probation officer to visit him 01. her at any tilne al home or elscwhcrc and shall pcrmit confiscation of any
           contraband observed in plain view of the probation officer;

           the dcfcndant shall notify tlie probation officer within seventy-hvo hours of being arrcsted or questioned by a law enforccnicnt officcr;

           the defendant shall not cnter into any agreement to act as an informer or a spccial agent of a law enforcement agcncy n'ithout thc'
           pcr~n~ssionof the court; and

           as dirccted by the probation officer. thc defendant shall notify third partics of risks that may bc ociasion~dby tlic difcndant's criminal word
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
           conipliance with such notification requirement.
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A 0 24513 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
                   -   -   --   -   -   --   -   -



Defendant:         HECTOR GARCIA-PEREZ                                                      Judgment - Page 4 of
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                                                 SPECIAL COlNDITIONS OF SbTERVISIOY

         The defe~idantshall also comply with the following additional conditions of supervised release:


X
-        Should the defendant be deported, he/she shall nor be allowed to rc-enter thc Uni~cclStxes without the express permission
         of the appropriate governmental authority.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions pursuant to the Violent Crime Control Act are waived.
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A 0 2458 (Rev 06/05) Sheet 5 - Crirninal Monetary Penalties (Judgment in a Criminal Case)

Defendant:         HECTOR GARCIA-PEREZ                                                           Judgnent - Page 5 of 6
Case No. :         8:06-cr-390-T-30TBM

                                             CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments 011 Sheet 6.
                             Assessment                               Fine                       Total Restitution

         Totals:             $100.00                                  Waived                     N/A


-        The d e t e r n h t i o n of restitution is deferred until     .                         ed        iu a Crinri17nl Cnse ( A 0 245C) will
                                                                               An A i ~ ~ e i ~ dJrrclgr~ze~lt
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount lisred
         below .
         If tlw defend:int makes a partial payment, each payee shall receive an approximately proportioned paymenr, unlcss
         specified otherwise ill [he priority order or percentage pa merit column below. Howevcr. pursuant to 18 U.S.C. 3
         3664(i). all non-federal victims must be paid before the dnited States.


Name of Payee                                     Total LOSS:^                 Restitution Ordered                  Prioritv or Percentage




                             Totals :             S                            $


-        Restitution amount ordered pursuant to plea agreement $
-        The defendant must pay interest on a fine or res~itutionof more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the dare of the judgment, pursuant to 18 U.S.C. $ 3612(t). All of the pyrnelit oplions on Shcer
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S .C. 5 3612(g).
 -       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                   the interest requirement is waived for the - fine            - restitution.
        -          the inrerest requirement for the - fine - restitution is modified as follows:


* Findings for the total an~ountof losses are required under Cha ters 109A. 110, 1lOA, and 113.4 of Title 18 for h e ol'l'enses
committed on or after September 13, 1994. but before April 23. 1896.
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A 0 245B (Rev 06/05) Sheet 6 - Scllcdule of Payments (Judgmerit in :i Cri~ninalCase)

Defendant:         HECTOR GARCIA-PEREZ                                                 Judgment - Page 6of 6
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                                                    SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.         X       Lump sum payment of S 100.00 due inmediately. balance due
                             -not later than                      , or

                             - in accordance - C, - D,- E or - F below: or
B.       -         Payment to begin irrnediately (may be combined with -C, -D. or - F below); 01-
C.       -         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $             over a
                   period of          (e. g . , months or years), to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment: or
D.       -         Pay inen t in equal                (e.g., weekly, monthly, quar~erly)i~lstallmentsof $                 over a
                   period of
                                   . (e.g., months or years) to commence                    (2.9. 30 or 60 days) ai'tel- release
                   from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                          (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during ~mprisonment. All criminal monetary penalties, except those payments nlade through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (includinrr defendant number). Total An~ount,Joint and
                                                                                        V


Several Amount, and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the possession or control oi- the defendant 01- the
defendant's nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interesr, (4) fine principal.
( 5 ) fine interest, (6) conlmunity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
